Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 1 of 33




      Exhibit “A”




      Exhibit “A”
        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 2 of 33
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                                                                                     Steven D. Grierson
                                                                                     CLERK OF THE COURT

 1 COMP
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   ROSS H. MOYNIHAN, ESQ.
 3 Nevada Bar No. 11848
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 4 Nevada Bar No. 12316
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 5 2301 Palomino Lane
   Las Vegas, NV 89107
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 7 court@lesstovall.com
   Attorneys for Plaintiff
 8
 9                                      DISTRICT COURT
                                     CLARK COUNTY, NEVADA
10
     KATHRYN MAYORGA, individually,       )
11                                        )
                        Plaintiff,        )                 CASE NO.:      A-18-781869-C
12   vs.                                  )                 DEPT. NO.:      Department 14
                                          )
13   CRISTIANO RONALDO, individually,     )
     Does I-XX and Roe Corporations I-XX; )                 EXEMPT FROM ARBITRATION
14                                        )
                        Defendant (s).    )
15   ____________________________________)
16                                      VERIFIED COMPLAINT
17          COMES NOW Plaintiff, by and through her attorneys, STOVALL & ASSOCIATES, and
18 for her complaint, alleges as follows:
19                                                    I.
20          That plaintiff is, and at all times mentioned herein was, a resident of Clark County Nevada
21                                                    II.
22          That defendant Cristiano Ronaldo is, and are all times mentioned herein was, a resident of
23 Portugal.
24                                                   III.
25          That the true names and capacities, whether individual, corporate, partnership, joint venture
26 or otherwise of defendants named herein as Does I – XX or Roe Corporations I – XX, and each of
27 them are unknown to plaintiffs at this time and include, but are not limited to, any and all
28 individuals, corporations, partnerships, joint ventures or others that participated in the conspiracy

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                                          Case Number: A-18-781869-C
           Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 3 of 33



 1 to obstruct the criminal investigation and prosecution of Cristiano Ronaldo for the sexual assault
 2 of plaintiff on June 13, 2009 and to unlawfully interfere, reduce or eliminate plaintiff’s claim for
 3 civil damages arising from the aforementioned sexual assault. Plaintiffs therefore sue defendants
 4 Does and Roe Corporations by such fictitious names. When their true names and capacities are
 5 ascertained, the plaintiff will amend this complaint accordingly to identify each such defendant.
 6                                                  IV.
 7           That at all times mentioned herein, each and every defendant, including Does I – XX and
 8 Roe Corporations I – XX, were agents, servants, employees, partners or joint ventures of every
 9 other defendant named herein, and were acting within the scope and course of said agency,
10 employment, partnership or joint venture with the knowledge and consent of all of the named
11 defendants, by conspiring to obstruct the criminal investigation and prosecution of Cristiano
12 Ronaldo for the sexual assault of plaintiff on June 13, 2009 and to unlawfully interfere, reduce
13 or eliminate plaintiff’s claim for civil damages arising from the aforementioned sexual assault.
14                                                   V.
15           That on June 12, 2009 the plaintiff was invited by a friend to go to Rain Nightclub located
16 in the Palms Hotel and Casino where she met Cristian Ronaldo.
17                                                  VI.
18           That on June 13, 2009 Cristiano Ronaldo invited a group of people, including the plaintiff,
19 to his penthouse suite to enjoy the view of the Las Vegas strip.
20                                                  VII.
21           While visiting Cristiano Ronaldo’s penthouse suite the plaintiff was invited to join guests
22 going into a hot tub located on the balcony of the penthouse suite and plaintiff declined not having
23 a bathing suit or other suitable clothing.
24                                                 VIII.
25           That defendant Cristiano Ronaldo offered plaintiff clothing she could wear in the hot tub,
26 plaintiff accepted, followed Cristiano Ronaldo into a room where he provided her athletic shorts
27 and a T-shirt, and directed her to a bathroom to change her clothing.
28 / / /

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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 4 of 33



 1                                                  IX.
 2          That while changing her clothing Cristiano Ronaldo entered the bathroom, exposed his erect
 3 penis and asked the plaintiff to perform fellatio.
 4                                                   X.
 5          That plaintiff refused and stated she wanted to leave the hotel suite.
 6                                                   XI.
 7          That upon leaving the bathroom, Cristiano Ronaldo pulled the plaintiff into a bedroom and
 8 onto a bed and attempted to engage in sexual intercourse.
 9                                                  XII.
10          That plaintiff refused to engage in sexual intercourse and covered herself in an attempt to
11 prevent sexual penetration.
12                                                 XIII.
13          That Cristiano Ronaldo turned plaintiff onto her side and while screaming “no, no, no” she
14 was sodomized by Cristiano Ronaldo
15                                                  XIV.
16          That the sexual assault by Cristiano Ronaldo caused plaintiff to suffer severe emotional and
17 bodily injuries including but not limited to anal contusions, posttraumatic stress disorder, and major
18 depression.
19                                                   XV.
20          That during the sexual assault, the plaintiff experienced emotional shock characterized by
21 passivity in response to the real and perceived threat to her life and well-being by Cristiano
22 Ronaldo.
23                                                  XVI.
24          That when Cristiano Ronaldo completed the sexual assault of the plaintiff , he allowed her
25 to leave the bedroom stating he was sorry, he was usually a gentleman.
26                                                 XVII.
27          That plaintiff drove to her parent’s home where she disclosed the sexual assault by Cristiano
28 Ronaldo to her friend.

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           Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 5 of 33



 1                                                  XVIII.
 2           That on June 13, 2009, the same day of the sexual assault by Cristiano Ronaldo, the
 3 plaintiff reported the sexual assault to the Las Vegas Metropolitan Police Department, incident
 4 number LVV090613001815, identifying the perpetrator as a famous soccer player, but refused to
 5 provide a name out of fear of public humiliation and retaliation.
 6                                                   XIX.
 7           That on June 13, 2009, the same day of the sexual assault by Cristiano Ronaldo, the plaintiff
 8 submitted to a sexual assault medical examination at the University Medical Center where physical
 9 evidence of the sodomy was documented and photographed.
10                                                   XX.
11           That during the examination at University Medical Center, the plaintiff heard the nurse tell
12 her that she would be subjected to retaliation and publicly humiliated by Cristiano Ronaldo, or
13 individuals acting on his behalf, as a woman who had consensual sex, and who is now attempting
14 to extort money by falsely accusing Cristiano Ronaldo of sexual assault.
15                                                   XXI.
16           That within weeks of the initial report of the sexual assault to the Las Vegas Metropolitan
17 Police Department, a police detective conducted an interview of the plaintiff, during which she
18 identified Cristiano Ronaldo as the individual who sexually assaulted her on June 13, 2009 at the
19 Palms Hotel and Casino.
20                                                  XXII.
21           That during the investigative interview by the Las Vegas Metropolitan Police Department
22 the plaintiff heard the detective reiterate prior warnings that plaintiff would be the subject of public
23 humiliation as a victim of a sexual assault, and that Cristiano Ronaldo, and individuals associated
24 with him, would further humiliate her by publicly characterizing her as a woman who consented
25 to sexual intercourse and because of his wealth and fame was now attempting to extort money from
26 Cristiano Ronaldo by falsely accusing him of sexual assault.
27 / / /
28 / / /

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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 6 of 33



 1                                                 XXIII.
 2          That following the investigative interview of the plaintiff, the Las Vegas Metropolitan
 3 Police Department initiated no further contact with the plaintiff.
 4                                                 XXIV.
 5          That the psychological trauma of the sexual assault, the fear of public humiliation and
 6 retaliation and the reiteration of those fears by law enforcement and medical providers left plaintiff
 7 terrified and unable to act or advocate for herself.
 8                                                 XXV.
 9          That plaintiff’s family eventually arranged for the plaintiff to consult with a lawyer, who
10 only had several years of experience, and this lawyer agreed to represent the plaintiff to pursue a
11 claim for civil damages against Cristiano Ronaldo.
12                                                 XXVI.
13          That Cristiano Ronaldo hired a team of “fixers”, known as “personal reputation protection
14 specialists” (defendants DOES I-XV and ROE Corporations I-XV, and hereafter referred to as the
15 “team”), to:
16          1.      Investigate, assess and monitor the plaintiff, plaintiff’s lawyer, friends and
17                  associates to avoid public disclosure of the sexual assault;
18          2.      Assess and monitor the law enforcement agencies responsible for the investigation
19                  and prosecution of the sexual assault;
20          3.      Develop and implement a strategy to prevent or delay public disclosure of the sexual
21                  assault;
22          4.      Develop and implement a strategy to prevent or delay criminal prosecution of
23                  Cristiano Ronaldo for the sexual assault of the plaintiff; and
24          5.      Develop and implement a strategy to delay, diminish or eliminate plaintiff’s claim
25                  for civil damages arising from the sexual assault on June 13, 2009.
26                                                XXVII.
27          That the “team” reported to Cristiano Ronaldo that the plaintiff prior to the sexual assault,
28 was:


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     Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 7 of 33



 1     1.     Raised in a middle-class family in which her father was employed as a fireman and
 2            her mother remained home as the homemaker;
 3     2.     A university graduate with a degree in journalism;
 4     3.     Variously employed as a schoolteacher, model and sales/product representative;
 5     4.     Married, separated from her husband and was openly dating; and
 6     5.     Engaged in a typical social life of a young woman born and raised in Las Vegas
 7            Nevada prior to the sexual assault.
 8                                           XXVIII.
 9     That the “team” reported to the Cristiano Ronaldo that after the sexual assault the plaintiff:
10     1.     Suffered severe psychological injury as a result of the sexual assault by Cristiano
11            Ronaldo;
12     2.     Would not allow her lawyer to identify the friend who visited Ronaldo’s suite with
13            her, because she and her friend were terrified of retaliation by Cristiano Ronaldo,
14            or persons acting on his behalf;
15     3.     Was terrified of being publicly humiliated by being identified as a victim of sexual
16            assault;
17     4.     Was terrified of further public humiliation by Cristiano Ronaldo, or individuals
18            acting on his behalf, accusing her of consenting to sex and then falsely accusing
19            Cristiano Ronaldo of sexual assault for financial gain;
20     5.     Was receiving treatment for the psychological injuries caused by Cristiano
21            Ronaldo’s sexual assault;
22     6.     Was exhibiting erratic behavior, emotional instability, indecisiveness, anxiety, and
23            depression, alcohol abuse and suicidal ideation;
24     7.     Was unable, or had difficulty, making decisions generally and specifically regarding
25            Cristiano Ronaldo and the sexual assault;
26     8.     Was unemployed since the sexual assault;
27     9.     Submitted to a sexual assault examination on June 13, 2009 at University Medical
28            Center where anal contusions and abrasions were documented and photographed;


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 8 of 33



 1                 and
 2          10.    That plaintiff reported that she repeatedly tried to avoid the sexual assault by
 3                 screaming “no, no, no”, attempting to cover herself to avoid sexual penetration and
 4                 was sodomized during the sexual assault.
 5                                                 XXIX.
 6          That the “team” reported to Cristiano Ronaldo an assessment of the Las Vegas Metropolitan
 7 Police Department, the law enforcement agency responsible for the investigation of the sexual
 8 assault and referral of Cristiano Ronaldo for prosecution, as:
 9          1.     The police will not view the sexual assault of the plaintiff as a “violent crime”;
10          2.     The police would characterize the sexual assault as “harassment” ;
11          3.     The police would put plaintiff’s case on the “back burner”;
12          4.     The “team” had a confidential source within the Las Vegas Metropolitan Police
13                 Department; and
14          5.     Their confidential police source confirmed that the police would “happily” close
15                 their investigative file if a financial settlement between the plaintiff and the
16                 defendant was arranged.
17                                                 XXX.
18          That at various times the “team” submitted written questions to Cristiano Ronaldo, and in
19 the answers attributed to Cristiano Ronaldo, he stated:
20          1.     He engaged in sexual intercourse with the plaintiff.
21          2.     “She was laying on the bed. I went from behind”;
22          3.     “She said no and stop several times”;
23          4.     A denial of “anal” penetration; and
24          5.     That plaintiff’s rectal injuries were caused by another person after the plaintiff had
25                 vaginal intercourse with him.
26                                                 XXXI.
27          That plaintiff’s lawyer did not follow up with the Las Vegas Metropolitan Police
28 Department’s investigation of the sexual assault of the plaintiff by Cristiano Ronaldo.


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 9 of 33



 1                                                XXXII.
 2          That Cristiano Ronaldo and the “team” knowing that the plaintiff was a “vulnerable person”,
 3 suffering severe emotional injuries, and terrified of public disclosure as a victim of sexual assault
 4 and of retaliation, repeatedly threatened to falsely and publicly accuse the plaintiff of consenting
 5 to sexual intercourse with the defendant in order to accuse the defendant of sexual assault to obtain
 6 money, if there was:
 7          1.      Public disclosure of the sexual assault from any sources,
 8          2.      Any further contact or information disclosed of the sexual assault to the police from
 9                  any source, or
10          3.      Further investigation by the police of the sexual assault
11                                                XXXIII.
12          That the “team” communicated these threats to the plaintiff for the purpose, and with the
13 intent to:
14          1.      Prevent, or delay, any further contact with the Las Vegas Metropolitan Police
15                  Department by the plaintiff, her friends, family, or lawyer;
16          2.      Prevent, or delay, any further contact with the Las Vegas Metropolitan Police
17                  Department to undermine and damage plaintiff’s credibility as a victim of sexual
18                  assault;
19          3.      To engage in purported settlement negotiations with the plaintiff to undermine and
20                  damage plaintiff’s credibility as a victim of sexual assault;
21          4.      Prevent, or delay, further criminal investigation of the June 13, 2009 sexual assault
22                  of the plaintiff by Cristiano Ronaldo;
23          5.      Cause further emotional distress to plaintiff by enhancing and reinforcing her sense
24                  of helplessness and vulnerability to public humiliation by being characterized as an
25                  individual making a false accusation of sexual assault for financial gain against a
26                  wealthy and famous person; and
27          6.      To delay, diminish or eliminate plaintiff’s claim for civil damages against the
28                  defendant.


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 10 of 33



 1                                                 XXXIV.
 2           That the “team” communicated with plaintiff’s lawyer purportedly to negotiate a settlement
 3 of plaintiff’s claims for civil damages against the defendant, during which they repeatedly:
 4           1.      Sought assurances that the plaintiff, her family, friends and lawyer were not in
 5                   contact with the police;
 6           2.      Sought assurances that plaintiff, her family, friends and lawyer were not
 7                   communicating any information regarding the sexual assault to any third party;
 8           3.      Falsely accused the plaintiff of fabricating information about the facts and
 9                   circumstances of the sexual assault to undermine the plaintiff’s credibility;
10           4.      Threatened to publicly and falsely accuse the plaintiff of consenting to sexual
11                   intercourse in order to accuse Cristiano Ronaldo of sexual assault to obtain money;
12                   and
13           5.      Failed to make any meaningful offers of settlement.
14                                                  XXXV.
15           That plaintiff was incompetent and lacked the mental capacity to participate in negotiations
16 and settlement of her claims due to the injuries suffered during the initial sexual assault by Cristiano
17 Ronaldo, the subsequent threat to publicly and falsely accuse her of extortion and false accusations
18 that she fabricated the facts and circumstances of the sexual assault.
19                                                 XXXVI.
20           That plaintiff’s lawyer having observed and commented upon the emotional instability of
21 the plaintiff, failed to have the competency or disability of the plaintiff evaluated, to seek
22 accommodation of any such disability, or have a personal representative appointed to represent the
23 interest of the plaintiff in this case of incompetency.
24                                                XXXVII.
25           That plaintiff’s lawyer and the “team” agreed to participate in a private mediation.
26                                                XXXVIII.
27           That the plaintiff agreed to participate in the private mediation on the condition that
28 Cristiano Ronaldo be present so that plaintiff could personally confront him with the consequences


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       Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 11 of 33



 1 of the sexual assault that she suffered.
 2                                               XXXIX.
 3           That a private mediation was conducted in Las Vegas, Nevada in which:
 4          1.     Cristiano Ronaldo did not appear, and plaintiff was not informed that Cristiano
 5                 Ronaldo would not attend until the day of the mediation;
 6          2.     That plaintiff’s family came to the mediation to provide emotional support and
 7                 advice to her, but were excluded from the mediation by the defendant’s “team” and
 8                 the mediator;
 9          3.     That during the mediation the plaintiff was extremely emotional, emotionally
10                 unstable, indecisive, irritable, agitated, hyper vigilant and erratic; and
11          4.     That defendant’s “team” reported that the plaintiff exhibited an extremely volatile
12                 and emotional state of mind, was emotionally fragile and unpredictable, the
13                 mediator spent a considerable amount of time to prevent her from walking out, and
14                 a state of mind that made it not possible to conclude the entire settlement within the
15                 confines of the mediation.
16                                                  XL.
17          That during the mediation the plaintiff experienced severe emotional trauma which she
18 characterized as re-experiencing the sexual assault by Cristiano Ronaldo, extreme fearfulness,
19 complete helplessness and eventually a sense of passivity where she would do anything just to be
20 able to leave/escape/avoid revisiting the sexual assault by continuing the mediation.
21                                                 XLI.
22          That defendant’s “team” and the mediator knew that the plaintiff suffered severe
23 psychological injuries as a result of the sexual assault, and having observed plaintiff’s severe
24 behavioral problems during the mediation, knew or should of known that the plaintiff was
25 incompetent or suffered a disability impairing her competency to participate in the mediation, and
26 they failed to take any steps to have the plaintiff’s condition evaluated, accommodated or to have
27 a personal representative appointed to represent the interest of the plaintiff to assure that a
28 mediated/negotiated agreement would be based upon the mutual assent of the parties or approved


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 12 of 33



 1 by a court.
 2                                                 XLII.
 3          That in complete disregard of the plaintiff’s acute emotional condition and severe behavioral
 4 problems during the mediation and knowing the plaintiff was incompetent or suffering a disability
 5 impairing her competency, and concerned that the plaintiff would stop the mediation process, the
 6 defendants “team”, the mediator and plaintiff’s lawyer agreed to a “partial settlement”, which the
 7 defendants “team” later characterized as an incomplete and cryptic settlement memo.
 8                                                XLIII.
 9          That the further psychological injury and trauma caused by the mediation process, which
10 manifested itself in plaintiff experiencing intrusive thoughts, an increased sense of extreme anxiety
11 and fearfulness, complete helplessness and passivity, prevailed during the purported post-mediation
12 negotiations between plaintiff’s attorney and the “team” representing Cristiano Ronaldo.
13                                                 XLIV.
14          That the plaintiff was incompetent, and lacked the capacity, to agree to any term negotiated
15 during or after the mediation and incorporated into the purportedly final “settlement and non-
16 disclosure agreement”.
17                                                 XLV.
18          That defendant’s “team” asserted that the settlement and non-disclosure agreement was
19 intended to and did prevent plaintiff, her family, friends and lawyer from speaking to anyone,
20 including the police about the sexual assault and should she or anyone associated with her do so,
21 she would suffer severe legal and financial consequences and penalties.
22                                                 XLVI.
23          That the “team” reported that they accomplished the goal of their conspiracy to obstruct and
24 prevent the criminal investigation and prosecution of Cristiano Rinaldo and plaintiff’s civil claims,
25 writing:
26                       At the end of the day, given the type of claims which MK [the
27               plaintiff] has asserted in this case, in our opinion we have obtained an
28               incredibly favorable settlement which will result not only in the release


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 13 of 33



 1               of any and all civil claims and in MK [the plaintiff] choosing not to
 2               pursue a criminal case which could have resulted in Topher [Cristiano
 3               Ronaldo] being imprisoned for a life sentence for sexual assault (or
 4               having the catastrophic effect of his not being able to travel to the US to
 5               play), but which will also avert the devastating impact which such
 6               claims would have on his personal and professional reputation,
 7               endorsement and professional opportunities. We would not have been
 8               able to persuade either MK [the plaintiff], her attorney or the mediator
 9               of the weakness of MK’s claims or the strength of Topher’s [Cristiano
10               Ronaldo] defenses had it not been for the invaluable work which was
11               done in this case, which was not only useful and integral for purposes of
12               mediation and settlement, but also necessary for the overall case, in
13               terms of being able to protect Topher [Cristiano Ronaldo] personally and
14               professionally, under the fullest extent of the law, whether or not MK
15               [the plaintiff] went forward with her claims. To this end, we have fully
16               succeeded, and now that we appear to have persuaded MK [the plaintiff]
17               and Trammel [plaintiff’s lawyer] of our positions on the material
18               settlement terms of confidentiality and related tax issues, we anticipate
19               being able to wrap this up and close this matter in short order.
20                                                 XLVII.
21          That the June 13, 2009 sexual assault and the ongoing and continuous conspiracy to obstruct
22 and prevent the criminal prosecution of Cristiano Ronaldo and plaintiff’s civil claims caused the
23 plaintiff continued and ongoing severe post traumatic stress disorder and major depression,
24 manifesting in difficulty maintaining employment, difficulty forming and maintaining interpersonal
25 relationships, intrusive thoughts, abuse of alcohol, suicidal ideation, difficulty performing the
26 normal activities of daily living and to feel emotionally adrift and frightened.
27                                                XLVIII.
28          That in 2017, a series of articles were published in Europe concerning the arrest of Cristiano


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 14 of 33



 1 Ronaldo for the sexual assault of a woman in Manchester England, the sexual assault of a woman
 2 in Italy, and the sexual assault of another woman (the plaintiff) in Las Vegas Nevada in 2009.
 3                                                 XLIX.
 4          That the articles published in Europe during 2017 referred to, and quoted from documents
 5 and communications which were in the exclusive possession and control of Cristiano Ronaldo and
 6 his “team” pertaining to the sexual assault of the plaintiff, and were contemporaneous to the
 7 defendant’s investigations, assessments and negotiations of the purported settlement agreement in
 8 2009 and 2010.
 9                                                       L.
10          That in 2017 Cristiano Ronaldo and his “team”, in furtherance of the conspiracy to obstruct
11 the criminal investigation of the sexual assault and plaintiff’s civil claims, publicly denied the
12 sexual assault of the plaintiff by Cristiano Ronaldo, and falsely and intentionally characterized
13 reporting of a sexual assault of the plaintiff, as:
14          1.      Journalistic fiction;
15          2.      Untruthful and false; and
16          3.      Unattributed and unsubstantiated
17                                                   LI.
18          That in 2018 the plaintiff submitted to a forensic psychiatric examination which determined
19 that as a result of the June 13, 2009 sexual assault, she:
20          1.      Suffered post traumatic stress disorder and major depression;
21          2       Was incompetent and lacked the capacity to participate in negotiations or enter into
22                  an agreement for settlement in 2009 and 2010; and
23          3.      Continued to suffer severe post traumatic stress disorder and major depression.
24                                                   LII.
25          That in 2018 the plaintiff contacted the Las Vegas Metropolitan Police Department stating
26 her desire and willingness to participate in the criminal investigation and prosecution of Cristiano
27 Ronaldo for the sexual assault that occurred on June 13, 2009 at the Palms Hotel and Casino in Las
28 Vegas Nevada, and submitted a copy of the forensic psychiatric evaluation of the plaintiff


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       Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 15 of 33



 1 describing psychological injuries she suffered as a result of the sexual assault and the consequences
 2 of those injuries.
 3                                                 LIII.
 4          That in 2018 the plaintiff obtained from Football Leaks copies of documents and
 5 communications between defendant Cristiano Ronaldo and his “team” contemporaneous to their:
 6          1.      Investigation and assessment of the plaintiff, plaintiff’s lawyer, the Las Vegas
 7                  Metropolitan Police Department, mediator, and Cristiano Ronaldo;
 8          2.      The strategy adopted and implemented to delay and prevent criminal prosecution of
 9                  Cristiano Ronaldo;
10          3.      The strategdy adopted and implemented to undermine plaintiff’s credibility as a
11                  victim of sexual assault;
12          4.      The strategy adopted and implemented to delay, diminish or eliminate plaintiffs
13                  claim for civil damages; and
14          5.      The negotiations before, during and after the mediation leading to the “purported”
15                  agreements for settlement and non-disclosure of the 2009 sexual assault of the
16                  plaintiff.
17                                                  LIV.
18          That on August 25, 2018 the plaintiff delivered to the Las Vegas Metropolitan Police
19 Department copies of documents and communications obtained from Football Leaks, between
20 defendant Cristiano Ronaldo and his “team” as evidence of:
21          1.      The criminal sexual assault of the plaintiff by Cristiano Ronaldo on June 13, 2009
22                  at the Palms Hotel and Casino for which the time limit for prosecution was removed
23                  by the plaintiff’s reporting of the crime in 2009 pursuant to NRS 171.180;
24          2.      An ongoing criminal conspiracy to obstruct and prevent the criminal investigation
25                  and prosecution of Cristiano Ronaldo for the sexual assault of the plaintiff on June
26                  13, 2009 at the Palms Hotel and Casino, including the following acts in furtherance
27                  of that conspiracy;
28          3.      A fraudulent misrepresentation of purpose and process leading to the agreements for


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 16 of 33



 1                  settlement and non-disclosure and that those agreements subjected the plaintiff to
 2                  severe legal and financial penalties and sanctions should she communicate with
 3                  anyone, including the police, about the sexual assault;
 4          4.      A libel by falsely and publicly releasing statements to the press in 2017 -2018 that
 5                  the plaintiff was not the victim of a sexual assault by Cristiano Ronaldo and any
 6                  such allegations were false; and
 7 A request that Cristiano Ronaldo, and the individuals acting on behalf of Cristiano Ronaldo, (the
 8 “team”) be investigated for criminal conspiracy to obstruct justice, obstruction of justice, fraud and
 9 libel.
10                                                  LV.
11          That as a direct and proximate result of the aforementioned acts of the defendant, plaintiff
12 was deprived compensatory damages for injuries suffered during the June 13, 2009 sexual assault
13 by Cristiano Rondalo.
14                                                  LVI.
15          That as a direct and proximate result of the aforementioned acts of the defendants, plaintiff
16 sustained severe bodily and psychological injuries, all or some of which conditions may be
17 permanent and disabling and all to Plaintiff’s damage in a sum in excess of $50,000.00.
18                                                 LVII.
19          That as a direct and proximate result of the aforementioned acts of the defendants, plaintiff
20 did receive medical and other treatment for her injuries and that said services, care and treatment
21 are continuing and shall continue in the future, all to the plaintiff’s damage in a sum in excess of
22 $50,000.00.
23                                                 LVIII
24          That the injuries complained of herein, diminished the plaintiff’s ability and capacity to
25 engage in activities to the same extent as prior to the aforementioned acts of the defendants which
26 is the subject of this complaint, all to the plaintiff’s damage in a sum in excess of $50,000.00.
27 / / /
28 / / /


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 17 of 33



 1                                                  LIX.
 2          That the aforementioned acts of the defendants were malicious, oppressive, coercive and
 3 fraudulent, intended to cause injury to the plaintiff and causing the intended injury to the plaintiff,
 4 thereby justifying the imposition of punitive damages upon the defendant in a sum in excess of
 5 $50,000.00.
 6                                                   LX.
 7          That plaintiff be awarded her attorney fees and costs for this action to recover her damages
 8 from the defendants.
 9                                                  LXI.
10          That the aforementioned acts of the defendant Cristiano Ronaldo, and Does I-XX and Roe
11 Corporations I-XX(the “team”) tolled the running of any applicable statutes of limitation on the
12 plaintiff’s civil claims as set forth herein, including but not limited to the following:
13          1.      Defendants are foreign nationals, remaining outside of the State of Nevada and the
14                  United States;
15          2.       Plaintiff lacked capacity;
16          3.      Defendants engaged in a continuous and ongoing fraud and conspiracy to obstruct
17                  and conceal their unlawful activities which plaintiff did not discover until mid-2017;
18          4.      Any time limitations related to the claim of sexual assault was removed by the
19                  reporting of the crime; and
20          5.      That the parties agreed to toll the running of any time limits on plaintiff’s claims
21                  arising from the 2009 sexual assault.
22                                     FIRST CAUSE OF ACTION
23                                                BATTERY
24                                                  LXII.
25          That plaintiff incorporates each paragraph set forth in paragraphs I – LXI as though fully set
26 forth at this herein.
27                                                 LXIII.
28          That the aforementioned sexual assault and sodomy of the plaintiff by the defendant


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 18 of 33



 1 Cristiano Ronaldo on June 13, 2009 constitutes a battery of the plaintiff and as a direct and
 2 proximate result thereof the plaintiff has suffered damages in a sum in excess of $50,000.00.
 3                                                  LXIV.
 4           That the aforementioned acts of the defendant were malicious, oppressive, coercive and
 5 fraudulent, intended to cause injury to the plaintiff, and caused the intended injury to the plaintiff,
 6 thereby justifying the imposition of punitive damages upon the defendant in a sum in excess of
 7 $50,000.
 8                                   SECOND CAUSE OF ACTION
 9                   INTENTIONAL INFLECTION OF EMOTIONAL DISTRESS
10                                                  LXV.
11           That plaintiff incorporates paragraphs I – LXIV of the complaint as though fully set forth
12 herein.
13                                                  LXVI.
14           That the aforementioned acts of the defendants and Cristiano Ronaldo constitutes an
15 ongoing and continuous intentional infliction of emotional distress upon the plaintiff, including but
16 not limited to:
17           1.      The June 13, 2009 sexual assault and sodomy;
18           2.      The repeated threats to falsely and publicly accuse the plaintiff of engaging in
19                   consensual sex in order to claim sexual assault to obtain money from the defendant;
20           3.      The continuous and ongoing fraud and conspiracy to obstruct and conceal the 2009
21                   sexual assault, obstruct and prevent the criminal prosecution of Cristiano Ronaldo
22                   and plaintiff’s civil claims, and her discovery thereof;
23           4.      Releasing documents and information pertaining to the 2009 sexual assault
24                   disclosed in the European publications in 2017-2018; and
25           5.      Publicly and falsely denying that Cristiano Ronaldo sexually assaulted the plaintiff
26                   in 2009 in response to the articles published in 2017-2018.
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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 19 of 33



 1                                                  LXVII.
 2           That as a direct and proximate result of the aforementioned intentional infliction of
 3 emotional distress, the plaintiff has suffered bodily and economic injuries, all to her damages in a
 4 sum in excess of $50,000.
 5                                                  LXVIII.
 6           That the aforementioned acts of the defendant were malicious, oppressive, coercive and
 7 fraudulent, intended to cause injury, and causing the intended injury to the plaintiff thereby
 8 justifying imposition of punitive damages upon the defendant in a sum in excess of $50,000
 9                                     THIRD CAUSE OF ACTION
10                                       COERCION AND FRAUD
11                                                   LXIX.
12           The plaintiff incorporates paragraphs I – LXVIII of the complaint as though each said
13 paragraph was fully set forth herein.
14                                                   LXX.
15           That defendants repeatedly and continuously threatened to falsely and publicly accuse the
16 plaintiff of engaging in consensual sex with the defendant in order to claim a sexual assault to extort
17 money from the defendant.
18                                                   LXXI.
19           That the plaintiff had a reasonable belief that the defendant would carry out this threat if she
20 did not comply with the defendant’s demand to settle her claim of sexual assault.
21                                                  LXXII.
22           That the defendants and his “team” falsely represented that the purpose of settlement
23 negotiations, mediation and the settlement agreement was to compensate the plaintiff for injuries
24 suffered during the June 13, 2009 sexual assault by Cristiano Ronaldo.
25                                                  LXXIII.
26           That defendants falsely represented that the settlement agreement precluded plaintiff’s
27 communication and cooperation with the police department’s criminal investigation of the sexual
28 assault upon her person by Cristiano Ronaldo on June 13, 2009 at the Palm’s Hotel and Casino, and


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       Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 20 of 33



 1 should she or anyone associated with her, do so she would suffer severe financial and legal
 2 consequences.
 3                                                 LXXIV.
 4          That from the circumstances surrounding the negotiations and mediation, the plaintiff to the
 5 extent she was capable of doing so, formed a reasonable belief that the process leading to the
 6 agreement and the agreement for settlement and non-disclosure were lawful.
 7                                                  LXXV.
 8          That the plaintiff purportedly entered into an agreement settling her claims against the
 9 defendant for the June 13, 2009 sexual assault in exchange for a payment of $375,000, and non-
10 disclosure of the sexual assault.
11                                                 LXXVI.
12          That the “team” reported that they accomplished the goal of their conspiracy to obstruct and
13 prevent the criminal investigation and prosecution of Cristiano Rinaldo by writing:
14                 At the end of the day, given the type of claims which MK [the plaintiff] has
15         asserted in this case, in our opinion we have obtained an incredibly favorable
16         settlement which will result not only in the release of any and all civil claims and
17         in MK [the plaintiff] choosing not to pursue a criminal case which could have
18         resulted in Topher [Cristiano Ronaldo] being imprisoned for a life sentence for
19         sexual assault (or having the catastrophic effect of his not being able to travel to the
20         US to play), but which will also avert the devastating impact which such claims
21         would have on his personal and professional reputation, endorsement and
22         professional opportunities. We would not have been able to persuade either MK
23         [the plaintiff], her attorney or the mediator of the weakness of MK’s claim claims
24         or the strength of Topher’s [Cristiano Ronaldo] defenses had it not been for the
25         invaluable work which was done in this case, which was not only useful and
26         integral for purposes of mediation and settlement, but also necessary for the overall
27         case, in terms of being able to protect Topher [Cristiano Ronaldo] personally and
28         professionally, under the fullest extent of the law, whether or not MK [the plaintiff]


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 21 of 33



 1         went forward with her claims. To this end, we have fully succeeded, and now that
 2         we appear to have persuaded MK [the plaintiff] and Trammel [plaintiff’s lawyer]
 3         of our positions on the material settlement terms of confidentiality and related tax
 4         issues, we anticipate being able to wrap this up and close this matter in short order.
 5                                                LXXVII.
 6          That the defendants’ representations regarding the purpose of the process leading to the
 7 agreement for settlement were false, and were made in furtherance of a conspiracy to:
 8          1.      Obstruct the criminal investigation and prosecution of Cristiano Ronaldo for sexual
 9                  assault by concealing and suppressing the plaintiff’s evidence of that crime; and
10          2.      Thereby interfere, diminish or eliminate plaintiff’s claim for civil damages arising
11                  from the aforementioned sexual assault.
12                                               LXXVIII.
13          That defendants material misrepresentation of the process and agreement for settlement
14 rendered the settlement agreement void as a matter of law.
15                                                LXXIX.
16          That the concealment of a crime or evidence thereof, and the obstruction of a criminal
17 investigation and prosecution of a crime in exchange for money are crimes, rendering the
18 settlement and non-disclosure agreement unlawful and void as a matter of law.
19                                                 LXXX.
20          That the plaintiff did not discover the aforementioned fraudulent misrepresentations of the
21 defendants regarding the purported process and settlement agreement until mid 2017 when the
22 plaintiff sought legal advise regarding the articles published in Europe discussing cases of alleged
23 sexual assault by Cristiano Ronaldo, including her sexual assault in 2009.
24                                                LXXXI.
25          That the plaintiff’s discovery of defendants tortious and fraudulent acts caused the plaintiff
26 to suffer severe emotional distress and an aggravation of the severe psychological injuries she
27 suffered as a result of the June 13, 2009 sexual assault, all to her damages in a sum in excess of
28 $50,000.


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 22 of 33



 1                                                 LXXXII.
 2           That as a direct and proximate result of the defendants conspiracy, fraud and coercion the
 3 plaintiff was deprived of recovery of compensatory damages for the injuries she sustained in the
 4 sexual assault on June 13, 2009 by Cristiano Ronald, and all to her damages in a sum in excess of
 5 $50,000.
 6                                                LXXXIII.
 7           That the defendants acts were malicious, fraudulent, coercive, and aggressive, intended to
 8 cause injury to plaintiff, and causing the intended injury to plaintiff, thereby justifying imposition
 9 and punitive damages upon the defendant in a sum in excess of $50,000.
10                                   FOURTH CAUSE OF ACTION
11                               ABUSE OF A VULNERABLE PERSON
12                                                LXXXIV.
13           That the plaintiff incorporates paragraphs I-LXXXIII of this complaint as though fully set
14 forth herein.
15                                                 LXXXV.
16           That the plaintiff, Kathryn Mayorga is, and all times mention herein, was a “vulnerable
17 person” as defined by NRS 200.5092(8).
18                                                LXXXVI.
19           That the aforementioned acts of defendant Cristiano Ronaldo and his “team” constitutes the
20 abuse and exploitation of a vulnerable person as defined by NRS 200.5092(2)(a) and (c), and NRS
21 200.5092(3)(a), and as a direct and proximate result thereof, plaintiff suffered bodily and economic
22 injuries, all the her damages in a sum in excess of $50,000.
23                                                LXXXVII.
24           That the acts of defendants were malicious, fraudulent, oppressive and intended to cause
25 injury to plaintiff, and caused the intended coercive injury to plaintiff, thereby justifying imposition
26 of punitive damages upon the defendants in a sum in excess of $50,000.
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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 23 of 33



 1                                     FIFTH CAUSE OF ACTION
 2                          RACKETEERING AND CIVIL CONSPIRACY
 3                                               LXXXVIII.
 4          That plaintiff incorporates paragraphs I through LXXXVII of the complaint as though fully
 5 set forth herein
 6                                                LXXXIX.
 7          That defendant Cristiano Ronaldo and his “team”combined to form and operate an
 8 enterprise for the purpose of engaging in racketeering activities and a civil conspiracy.
 9                                                   XC.
10          That in furtherance of their enterprise the defendants engaged in the following racketeering
11 activities as defined by NRS 207.360(6) (sexual assault) and (10)(extortion to coerce plaintiff’s
12 participation in their schemes), to obstruct the criminal investigation and prosecution of Cristiano
13 Ronaldo for the sexual assault of the plaintiff on June 13, 2009 and thereby interfere, reduce, or
14 eliminate plaintiff’s claim for civil damages arising therefrom.
15                                                  XC.
16          The defendants aforementioned racketeering activities and civil conspiracy caused:
17          1.      The delay, or prevented, the criminal investigation and prosecution of Cristiano
18                  Ronaldo for the sexual assault of the plaintiff on June 13, 2009;
19          2.      The delay, and prevented Plaintiff’s recovery of compensatory damages for injuries
20                  sustained in the June 13, 2009 sexual assault, all to her damages in a sum amount
21                  excess of $50,000.00; and
22          3.        Aggravated and continued the severe emotional distress of the plaintiff, all to her
23                  damages in a sum amount excess of $50,000.00.
24                                                  XCI.
25          That pursuant to NRS 207.470 the defendants are liable to the plaintiff for three times the
26 actual damages sustained by the plaintiff and payment of the plaintiff’s attorneys fees and cost
27 related to this claim.
28 / / /


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 24 of 33



 1                                                 XCII.
 2          That the aforementioned acts of the defendants were malicious, fraudulent, oppressive, and
 3 coercive, intended to cause injury to the plaintiff, and in fact caused the intended injury to the
 4 plaintiff, thereby justifying an award of punitive damages and some in excess of $50,000.
 5                                    SIXTH CAUSE OF ACTION
 6                                            DEFAMATION
 7                                                 XCIII.
 8          That plaintiff incorporates paragraphs I through XCII of the complaint as though fully set
 9 forth herein.
10                                                 XCIV.
11          That in 2017 articles were published in Europe that referred to and quoted documents and
12 communications which were in the exclusive possession and control of Cristiano Ronaldo and his
13 “team” pertaining to the sexual assault of the plaintiff and contemporaneous to the defendant's
14 investigation of the plaintiff in 2009 and the process leading to the agreement of a settlement in
15 2010.
16                                                 XCV.
17          That these 2017 articles contain sufficient information to identify of the plaintiff, and
18 plaintiff learned of these articles from third parties who identified her from the information
19 contained therein.
20                                                 XCVI.
21          That in 2017 and 2018 Cristiano Ronaldo, and individuals acting on his behalf, and in
22 furtherance of the conspiracy to obstruct and prevent disclosure of the 2009 sexual assualt, the
23 criminal prosecution of Cristiano Ronaldo and plaintiff’s civil claims published responses to these
24 articles that falsely denied that a sexual assault of the plaintiff by Cristiano Ronaldo occurred, and
25 falsely characterized the reported sexual assault of the plaintiff, as:
26          1.      Journalistic fiction,
27          2.      Untruthful and false, and
28          3.      Containing unattributable and unsubstantiated allegations.


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 25 of 33



 1                                                XCVII.
 2          That the defendants’ publication of the false and defamatory statements harmed the
 3 plaintiff’s reputation, discouraged third persons from associating with her, and imputed to the
 4 plaintiff the commission of a crime, dishonesty and immoral behavior.
 5                                               XCVIII.
 6          That these false and defamatory statements were published by the defendants with actual
 7 malice, having knowledge of the falsity of these statements, or with a reckless disregard for their
 8 truth.
 9                                                XCIX.
10          That as a direct and proximate result of the defendants publication of false and defamatory
11 statements with actual malice, the plaintiff has been subjected to great ridicule and embarrassment,
12 has been harmed both professionally and personally, and suffered severe emotional distress, all to
13 the plaintiff's damages in a sum in excess of $50,000.
14                                                   C.
15          That the defendants publication of false and defamatory statements regarding the plaintiff
16 was done with actual malice, intended to cause harm to the plaintiff and caused the intended harm
17 to the plaintiff, thereby justifying imposition of punitive damages upon the defendant in a sum in
18 excess of $50,000.
19                                 SEVENTH CAUSE OF ACTION
20                                       ABUSE OF PROCESS
21                                                  CI.
22          That plaintiff incorporates paragraphs I through C of the complaint as though fully set forth
23 herein
24                                                  CII.
25          That alternative dispute resolution, including mediation, is a legal process recognized and
26 protected by Nevada statutes.
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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 26 of 33



 1                                                  CIII.
 2          That defendant agreed to participate in alternative dispute resolution by mediation to
 3 purportedly seek settlement of the plaintiffs civil claims for injuries suffered during the sexual
 4 assault by Cristiano Ronaldo that occurred on June 13, 2009.
 5                                                  CIV.
 6          That defendants’ participation in alternative dispute resolution by mediation was for the
 7 ulterior purpose of furthering the conspiracy to obstruct the criminal investigation and prosecution
 8 of Cristiano Ronaldo for sexual assault by concealing and suppressing the plaintiff's evidence of
 9 that crime and to thereby interfere, diminish or eliminate the plaintiff’s claim for civil damages
10 arising from the aforementioned sexual assault.
11                                                   CV.
12          That defendants wilfully and intentionally, threatened to publicly and falsely accuse plaintiff
13 of consenting to sexual intercourse in order to accuse Cristiano Ronaldo of sexual assault to obtain
14 money to coerce plaintiffs participation in this process.
15                                                  CVI.
16          That defendants willfully and intentionally, falsely accused plaintiff of fabricating
17 information about the circumstances of the assault to coerce her participation in the mediation
18 process, undermine her credibility at the mediation and coerce plaintiffs acceptance of an agreement
19 for settlement and non-disclosure.
20                                                  CVII.
21          The defendants willfully and intentionally excluded plaintiff’s family from the mediation
22 to deprive her of emotional support and advice, to further emotionally injure the plaintiff and place
23 her at an unfair disadvantage during the mediation and coerce her acceptance of an agreement for
24 settlement and non-disclosure.
25                                                 CVIII.
26          That the defendants knew that the plaintiff suffered severe psychological injuries as a result
27 of the sexual assault and observed plaintiff’s severe behavioral problems during the mediation,
28 knew or should have known the plaintiff was incompetent or suffered a disability impairing her


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 27 of 33



 1 ability to participate in the mediation and failed to take any steps to have the plaintiff's condition
 2 evaluated, accommodated or to have a personal representative appointed to represent the interest
 3 of the plaintiff to assure that the mediation agreement would be based upon mutual assent of the
 4 parties or approval by a court.
 5                                                  CIX.
 6           That in complete disregard of the plaintiff's acute emotional condition and severe behavioral
 7 problems during the mediation and knowing the plaintiff was incompetent or suffering a disability
 8 impairing her competency, the defendants purportedly obtained plaintiff’s agreement to a
 9 document that they later described as an incomplete and cryptic settlement agreement, and therefor
10   continued “purported” negotiations to obtain a “final agreement” purportedly for settlement and
11 non-disclosure of the 2009 sexual assault.
12                                                   CX.
13           That the aforementioned acts of the defendants constitute abuse of process, and as a direct
14 and proximate result thereof, the plaintiff suffered:
15           1.     Severe emotional distress all her damages in the sum in excess of $50,000.
16           2.     Loss of compensatory damages for injuries sustained in the June 13, 2009 sexual
17                  assault all to her damages in a sum of excess of $50,000.00
18                                                  CXI.
19           The aforementioned acts of the defendants were malicious, fraudulent, coercive and
20 oppressive, intended to cause injury to the plaintiff, and caused the intended injury to the plaintiff,
21 thereby justifying imposition of punitive damages upon the defendant of the sum in excess of
22 $50,000.
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       Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 28 of 33



 1                                  EIGHTH CAUSE OF ACTION
 2                                    DECLARATORY RELIEF-
 3           (DECLARATION THAT THE SETTLEMENT AND NON-DISCLOSURE
 4      AGREEMENT IS VOID OR VOIDABLE ON THE BASIS OF INCOMPETENCY,
 5                     UNDUE INFLUENCE, COERCION AND /OR FRAUD)
 6                                                 CXII.
 7          That plaintiff incorporates paragraphs I through CXI of the complaint as though fully set
 8 forth herein.
 9                                                CXIII.
10          That pursuant to NRS 30.040 plaintiff seeks a determination of the validity of the settlement
11 and nondisclosure agreement of 2010.
12                                                CXIV.
13          That the plaintiff contends she was incompetent and lacked the capacity to enter into an
14 agreement for the settlement and nondisclosure of the 2009 sexual assault thereby rendering it void
15 or voidable.
16                                                 CXV.
17          That the plaintiff contends the defendants exerted undue influence and coercion to obtain
18 her purported agreement for settlement and nondisclosure of the 2009 sexual assault thereby
19 rendering it void or voidable.
20                                                CXVI.
21          That the plaintiff contends the defendants committed a fraud to obtain her agreement for
22 settlement and non-disclosure of the 2009 sexual assault thereby rendering it void or voidable
23                                                CXVII.
24          That the plaintiff contends that the agreement for settlement and non-disclosure of the 2009
25 sexual assault was for unlawful and criminal purposes thereby rendering it void or voidable.
26                                               CXVIII.
27          That based upon the aforementioned acts of the defendants the plaintiff seeks this court's
28 judgment declaring the agreement for settlement and non-disclosure of the 2009 sexual assault void


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 29 of 33



 1 and unenforceable.
 2                                     NINTH CAUSE OF ACTION
 3                                      DECLARATORY RELIEF
 4      (DECLARATION THAT THE PLAINTIFF IS EXCUSED FROM PERFORMANCE
 5       UNDER THE SETTLEMENT AND NONDISCLOSURE AGREEMENT DUE TO
 6                                      DEFENDANT'S BREACH
 7                                                  CXIX.
 8           That plaintiff incorporates paragraphs I through CXVIII of the complaint as though fully
 9 set forth herein.
10                                                  CXX.
11           That alternatively, pursuant to NRS 30.040 plaintiff seeks declaration of her obligations
12 under the settlement and non-disclosure agreement of 2010.
13                                                  CXXI.
14           That a material term of the agreement was that Cristiano Ronaldo personally read a letter
15 from defendant.
16                                                 CXXII.
17           That a material term of the agreement required defendants to maintain information and
18 documents relating to the 2009 sexual assault and the agreement for settlement and non-disclosure
19 in the strictest confidence.
20                                                 CXXIII.
21           That defendants materially breached this agreement by failing to maintain information and
22 documents relating to the 2009 sexual assault and the agreement for settlement and non-disclosure
23 in the strictest confidence resulting in the publication of articles in Europe in 2017 pertaining to the
24 sexual assault of the plaintiff.
25                                                 CXXIV.
26           That defendants materially breached the agreement by not reading the plaintiff’s letter.
27                                                  CXXV.
28           That defendants materially breached the agreement by making public statements regarding


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 30 of 33



 1 the sexual assault in 2017-2018.
 2                                                CXXVI.
 3          That the plaintiff contends that defendants material breach the agreement by failing to
 4 maintain information and documents relating to the 2009 sexual assault and agreement for
 5 settlement and nondisclosure in the strictest confidence, and Cristiano Ronaldo’s refusal or failure
 6 to read the plaintiff’s letter, excused and released the plaintiff from any obligations under the terms
 7 of the agreement for settlement and non-disclosure of the 2009 sexual assault of the plaintiff.
 8                                                CXXVII.
 9          That based upon the aforementioned acts of the defendant the plaintiff seeks this court's
10 judgment declaring that defendant's breach of the agreement for settlement and non-disclosure,
11 excused and released the plaintiff from any obligations under the terms of the agreement for
12 settlement and non-disclosure of the 2009 sexual assault of the plaintiff.
13                                    TENTH CAUSE OF ACTION
14                                            NEGLIGENCE
15                                               CXXVIII.
16          That plaintiff incorporates paragraphs I through CXXVII of the complaint as though fully
17 set forth herein.
18                                                CXXIX.
19          That defendant assumed the duty and obligation under the agreement for settlement and
20 nondisclosure of the sexual assault to maintain information and documents relating to the 2009
21 sexual assault of the plaintiff in the strictest confidence.
22                                                 CXXX.
23          That defendant negligently maintained the information and documents related to the 2009
24 sexual assault of the plaintiff, and as a direct and proximate result thereof, information and
25 documents related to the 2009 sexual assault of the plaintiff were publicly disclosed.
26                                                CXXXI.
27          That has a direct and proximate result of the aforementioned negligence of the defendants
28 the plaintiff has suffered severe emotional distress, all to her damages in a sum in excess of


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        Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 31 of 33



 1 $50,000.
 2                                 ELEVENTH CAUSE OF ACTION
 3                                      BREACH OF CONTRACT
 4                                                CXXXII.
 5           That plaintiff incorporates paragraphs I through CXXXI of the complaint as though fully
 6 set forth herein.
 7                                               CXXXIII.
 8           That alternatively, the aforementioned acts of the defendants materially breached the
 9 agreement for settlement and non-disclosure by releasing documents and information pertaining to
10 the 2009 sexual assault of the plaintiff to the public and not reading the plaintiff’s letter.
11                                                CXXXIV.
12           That plaintiff compromised her actual damages sustained in the 2009 sexual assault in
13 exchange for the agreement of settlement and non-disclosure.
14                                                CXXXV.
15           That plaintiff agreed not to pursue her actual damages against the plaintiff in exchange for
16 the agreement of settlement and non-disclosure thereby tolling any applicable statute of limitation
17 on claims arising from the 2009 sexual assault.
18                                                CXXXVI.
19           That as a direct and proximate result of the defendants’ material breach of the agreement
20 for settlement and non-disclosure the plaintiff is excused and released from her obligations
21 thereunder.
22                                               CXXXVII.
23           That as a direct and proximate result of the defendants’ material breach of the agreement
24 for settlement and non-disclosure, the plaintiff has suffered damages equivalent to her actual and
25 unliquidated damages suffered in the 2009 sexual assault by the defendant Cristiano Ronaldo, a sum
26 in excess of $50,000.
27 / / /
28 / / /


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Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 32 of 33
Case 2:19-cv-00168-JAD-DJA Document 112-1 Filed 05/27/21 Page 33 of 33
